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                        Exhibit 1
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                                                                U.S. Department of Justice

                                                                United States Attorney :S, Office
                                                                District ofD elaware

                                                                Nemours Building                       (302) 573-6277
                                                                1007 N. Orange Street, Suite 700   FAX (302) 573-6220
                                                                P. 0. Box 2046
                                                                Wilmington, Delaware 19899-2046

                                                                January 26, 2018

     VIA FEDERAL EXPRESS

    Brian R. Yoshida, Esq.
    One M&T Plaza, 8th Floor,
    Buffalo, New York 14203.

    Re:     United States v. Wilmington Trust Corporation, 15-23.:.RGA

Dear Mr. Y oshiba,

        Pursuant to Paragraph 27 of the Settlement Agreement (the "Agreement," attached as Exhibit
A) entered into between the United States Attorney's Office for the District of Delaware and M&T
Bank Corporation, the parent corporation of Wilmington Trust Corporation, we hereby provide notice
of a potential/anticipated breach of the Agreement.

        In a letter dated Friday, January 26, 2018 (the "Letter," attached as Exhibit B), Wilmington
Trust indicated its intent to "have its counsel attend the criminal trial, and have its counsel discuss with
counsel for its civil co-defendants the direct examinations being presented and the cross-examinations
of government witnesses during the course of the trial." (Ex.Bat 2.) We believe that such conduct
would violate Paragraph 2.B of the Agreement, which states:

       2. Wilmington Trust shall cooperate fully with the USAO for a period beginning on the
       effective date and ending no earlier than the conclusion of all district court, and appellate
       proceedings relating to United States v. David Gibson, Robert Harra, William North, and
       Kevyn Rakowski, 15-23-RGA (D. Del.) in any and all matters relating to the Covered Conduct
       described in this Agreement. Wilmington Trust agrees to cooperation in a manner consistent
       with applicable law and rules pursuant to this paragraph as follows:

                                                         ****
               B. Neither Wilmington Trust nor its officers, directors, employees, agents, or
               counsel, shall provide any support to the individual criminal defendants charged in
               United States v. David Gibson, Robert Harra, William North, and Kevyn Rakowski,
               Crim. No. 15-23-RGA (D. Del.), or play any role in the continued investigation,
               defense, appeal, or collateral review of those defendants' criminal cases, other than
               (1) as permitted by indemnification law; and (2) providing truthful testimony.
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(Ex. A ,r 2.B (emphasis added).)

     In the event of a breach, we reserve the right to seek any and all remedies - including, but not
limited to, seeking reinstatement of criminal charges, instituting new criminal charges, and pursuing all ·
other available rights and remedies under the law.

                                                          Yours very truly,

                                                          DAVID C. WEISS



                                                          Roe~~/~
                                                          Acting United States Attorney


                                                BY
                                                          Lesley F. Wolf
                                                          Jamie M. McCall
                                                          Assistant United States Attorneys

       cc:   Matthew P. Majarian, Esq.
             Barry S. Simon, Esq.

Enc.




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                        Exhibit A
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                                     SETTLEMENT AGREEMENT

             This Settlement Agreement (''Agreement'') is entered into between the United States

     Attorney's Office for the District of Delaware ("USAO"), and the Wilmington Trust Corporation,

     as well as its current and former parents, subsidiaries, and affiliates (hereinafter collectively

     "Wilmington Trust"). The USAO and Wilmington Trust are collectively referred to herein as "the

     Parties."

                                                RECITALS

            A.      The USAO conducted an investigation concerning whether Wilmington Trust and

     its executives made false statements regarding the quality of its commercial loan portfolio,

     including Wilmington Trust's quantity of past due loans, as reported in securities filings with the

     Securities and Exchange Commission ("SEC"), Call Reports filed with the Board of Governors of

     the Federal Reserve ("Federal Reserve"), and Monthly Regulatory Reports filed with the Federal

     Reserve between 2009 and 2010, as set forth in the Third Superseding Indictment in United States

     v. Wilmington Trust Corp. et al. No. 15-23-RGA (D. Del) (all matters that were the subject of, or

     that otherwise relate to or arise out of, the investigation or the Third Superseding Indictment and

     prior indictments in the above action are hereinafter referred to as the "Covered Conduct").

            B.      Based on the investigation, the USAO believes that there was an evidentiary basis

     to bring both a civil and criminal case against Wilmington Trust for violating federal criminal and

     civil law in connection with its public disclosures during the 2009-2010 time period.

            C.      The USAO enters into this Agreement based on the individual facts and

     circumstances presented by this case and by Wilmington Trust. Among the factors considered

    were the following:

            •       Wilmington Trust has agreed to make a payment, as provided in Paragraph 1;
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            •       Wilmington Trust is willing to cooperate with the USAO as provided in Paragraph

            2 below; and

            •       Wilmington Trust is willing to agree to the facts and statements set forth in Exhibit

            A hereto, hereby incorporated by reference.

            D.     This Agreement is effective on the date of signature of the last signatory to the

     Agreement.

                                      TERMS AND CONDITIONS

            In consideration of the mutual promises and obligations of the Agreement, the Parties

     agree and covenant as follows:

                                         Payment and Forfeiture

            1.     Wilmington Trust shall pay a total amount of $60,000,000.00 to resolve pending

     and potential criminal claims the USAO has or may have against Wilmington Trust in connection

     with the Covered Conduct (the "Total Settlement Amount"). Wilmington Trust will transfer

     $44,000,000 ("the Transferred Amount") to the USAO pursuant to this Agreement.

                   A.      The United States contends that the facts alleged in Exhibit A and that it

            intends to assert in a verified in rem complaint, United States ofAmerica v. $44,000,000 in

            United States Currency, Civil Action No. 17-cv-_ _ (hereinafter "the Civil Forfeiture

            Complaint") provide a basis for the civil forfeiture of the Transferred Amount to the United

            States. The Civil Forfeiture Complaint will be filed against the Transferred Amount in the

           United States District Court for the District of Delaware (hereinafter "the Civil Forfeiture

           Action").

                   B.       By this Agreement, Wilmington Trust expressly agrees that it does not

           have standing to appear in and will not appear in, or'otherwise litigate any matter in, the

           Civil Forfeiture Action.        Furthermore, Wilmington Trust expressly waives all


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           constitutional and statutory challenges in any manner to any forfeiture carried out as to the

           Transferred Amount on any grounds.

                  C.        By entering into this Agreement, Wilmington Trust has agreed to the Total

           Settlement Amount of $60,000,000 and has further agreed to abandon all right, title and

           interest in the Transferred Amount upon the transfer.

                  D.        Wilmington Trust agrees that it will not file a claim with any Court or

           otherwise contest the civil forfeiture of the Transferred Amount and will not assist a third

          party in asserting any claim to the Transferred Amount, except to the extent necessary to

          cooperate with any claims administrator designated by the Department of Justice to

          administer the funds subject to forfeiture. Wilmington Trust certifies that the funds used

          to pay the Transferred Amount are not the subject of any lien, security agreement, or other

          encumbrance. Transferring encumbered funds or failing to pass clean title to these funds

          in any way will be considered a breach of this Agreement.

                  E.       Wilmington Trust agrees that the Transferred Amount shall be treated as a

          penalty paid to the United States government for tax purposes.            Wilmington Trust

          acknowledges that no United States tax deduction may be sought in connection with the

          payment of any part of the Transferred Amount.

                  F.       Wilmington Trust shall transfer the entire Transferred Amount of

          $44,000,000.00 million within one (1) calendar day after executing this Agreement (or as

          otherwise directed by the USAO following such period) and shall pay any associated

          transfer fees. Such payments shall be made pursuant to wire instructions provided by the

          USAO.        If Wilmington Trust fails to timely make the payment required under this

          paragraph, interest (at the rate specified by 28 U.S.C. § 1961) shall accrue on the unpaid

          balance through the date of payment.



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                    G.      The Transferred Amount paid is final and shall not be refunded. In the event

             of a breach of this Agreement, the United States may pursue any rights to forfeiture in

             excess of the Transferred Amount. The United States agrees that in such event, it will

             recommend to the Court that the amounts paid pursuant to this Agreement be offset against

             whatever forfeiture the Court shall impose as part of its judgment. Wilmington Trust

             understands that such a recommendation will not be binding on the Court.

                    H.      Effective upon the transfer, solely for purposes of Supplemental Rule G(3),

             the Transferred Amount shall be deemed within the control of the United States and subject

            to Supplemental Rule G(3)(b)(i).

                    I.      The USAO agrees that payments by Wilmington Trust, in connection with

            the settlement between Wilmington Trust and the Securities and Exchange Commission

            (In the Matter of Wilmington Trust Corporation, Administrative Proceeding File No. 3-

             16098, dated September 11, 2014), totaling $16 million, shall be credited against the Total

            Settlement Amount, leaving the Transferred Amount.

                    J.     Any judgment entered in the Civil Forfeiture Action is not intended to have

            any preclusive, collateral estoppel, or res judicata impact on Wilmington Trust.

                               Future Cooperation and Disclosure Requirements

            2.      Wilmington Trust shall cooperate fully with the USAO for a period beginning on

     the effective date and ending no earlier than the conclusion of all district court, and appellate

     proceedings relating to United States v. David Gibson, Robert Harra, William North, and Kevyn

     Rakowski, 15-23-RGA (D. Del.) in any and all matters relating to the Covered Conduct described

     in this Agreement. Wilmington Trust agrees to cooperation in a manner consistent with applicable

     law and rules pursuant to this paragraph as follows:




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                  A.       Upon request ·Of the USAO,            Wilmington Trust shall designate

          knowledgeable employees, agents or attorneys to provide to the USAO complete, truthful,

          and accurate non-privileged information and to cooperate with any assigned claims

          administrator.

                  B.       Neither Wilmington Trust nor its officers, directors, employees, agents, or

          counsel, shall provide any support to the individual criminal defendants charged in United

          States v. David Gibson, Robert Harra, William North, and Kevyn Rakowski, Crim. No. 15-

          23-RGA (D. Del.), or play any role in the continued investigation, defense, appeal, or

          collateral review of those defendants' criminal cases, other than (1) as permitted by

          indemnification law; and (2) providing truthful testimony.

                  C.       Wilmington Trust shall use its best efforts to make available for interviews

          or testimony, as required by the USAO, present or former officers, directors, employees,

          agents and consultants of Wilmington Trust or its former subsidiaries and affiliates. This

          obligation includes, but is not limited to, sworn testimony in federal trials.

                  D.       Wilmington Trust shall certify as authentic records all documents and

          records provided to the USAO or any other federal agency relating to the Covered Conduct,

          and shall identify and make available applicable records custodians to testify before a

          federal grand jury or in federal trials.

                  E.       Wilmington Trust preserves and does not waive its right to assert any

          applicable privilege.

                  F.       Should Wilmington Trust learn of credible evidence or allegations related

          to the Statement of Facts, Wilmington Trust shall promptly report such evidence or

          allegations to the USAO.

                  G.       This Agreement does not restrict in any manner the way that Wilmington

          Trust defends itself in any matter in which it is then a party.

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                                             Releases From Liability

             3.     Upon receipt of the Transferred Amount, the USAO shall move to dismiss the

      charges in the pending indictments against Wilmington Trust with prejudice.

             4.     Subject to and conditioned upon Wilmington Trust's full payment of the

      Transferred Amount, the USAO further agrees not to bring any criminal proceeding against

      Wilmington Trust and any respective successors and assigns relating to the Covered Conduct.

             5.     If Wilmington Trust is unable to transfer the Transferred Amount prior to the

      empanelment of the jury in United States v. Wilmington Trust et al, Crim. No. 15-23-RGA (D.

     Del.), Wilmington Trust shall agree to request a severance from the remaining criminal defendants.

     Wilmington Trust further agrees to waive any and all claims to dismiss the Third Superseding

     Indictment under the Speedy Trial Act, 18 U.S.C. § 3161.

             6.     This Agreement does not provide any protection against any prosecution or civil

     action based on any future conduct by Wilmington Trust. In addition, this Agreement does not

     provide any protection against prosecution of any current or former officer, director, employee,

     shareholder, agent, consultant, contractor, or subcontractor of Wilmington Trust for any violations

     committed by them related to the Covered Conduct.

             7.     Wilmington Trust,. and any current or former affiliated entity, and any of their/its

     respective successors and assigns, fully and finally releases the United States and its officers,

     agents, employees, and servants from any present or future claims (including attorney's fees, costs,

     and expenses of every kind and however denominated) that Wilmington Trust has asserted, could

     have asserted, or may assert in . the future against the United States and its officers, agents,

     employees, contractors, and servants relating to the Covered Conduct and the investigation and

     criminal prosecution to date thereof.




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              8.       As a condition to this Agreement, Wilmington Trust expressly admits the

      statements and facts set out in the Statement of Facts set forth in Exhibit A. By entering into this

      Agreement, however, Wilmington Trust does not admit any liability.

                   Waiver of Potential FDIC Indemnification Claims by Wilmington Trust

             9.        Wilmington Trust hereby irrevocably waives any right that it otherwise might have

      to seek (and in any event agrees that it shall not seek) any form of indemnification, reimbursement,

      or contribution from the Federal Deposit Insurance Corporation ("FDIC") in any capacity,

      including the FDIC in its Corporate Capacity, for any payment that is a portion of the Transferred

     Amount set forth in Paragraph 1 of this Agreement.

                             Waiver of Potential Defenses by Wilmington Trust

             10.      Wilmington Trust, and any current or former affiliated entity (to the extent that

     Wilmington Trust has the ability to bind such affiliated entity) and any of their respective

     successors and assigns waive and shall not assert any defenses Wilmington Trust may have to any

     criminal prosecution or administrative action that may be based in whole or in part on a contention

     that, under the Double Jeopardy Clause in the Fifth Amendment of the Constitution, or under the

     Excessive Fines Clause in the Eighth Amendment of the Constitution, this Agreement bars a

     remedy sought in such criminal prosecution or administrative action:.

                                         Unallowable Costs Defined

             11.      All costs (as defined in the Federal Acquisition Regulation, 48 C.F.R. § 31.205-47)

     incurred by Wilmington Trust, and their/its present or former officers, directors, employees,

     shareholders, and agents in connection with:

                      A.     the matters covered by this Agreement;

                      B.     the USAO's investigation of the Covered Conduct;




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                     C.     the investigation, defense, and corrective actions undertaken by Wilmington

             Trust, in response to the USAO's investigation in connection with the matters covered by

             this Agreement (including attorney's fees);

                    D.      the negotiation and performance of this Agreement; and

                    E.      payments made to the United States pursuant to this Agreement

     constitute Unallowable Costs.

                                 Future Treatment ofUnallowable Costs

             12.    Unallowable Costs will be separately determined and accounted for by Wilmington

     Trust, and Wilmington Trust shall not charge such Unallowable Costs directly or indirectly to any

     contract with the United States.

                                        Public Statements by Company

             13.     All Parties consent to the disclosure to the public of this Agreement, and

     information about this Agreement.

             14.    Wilmington Trust expressly agrees that it shall not, through present or future

     attorneys, officers, directors, employees, agents, or any other person authorized to speak for

     Wilmington Trust make any extrajudicial statement, contradicting the statements or facts

     contained in the Statement of Facts, set forth in Exhibit A, or the terms of this Agreement. Any

     such contradictory statement shall, subject to cure rights of Wilmington Trust, constitute a breach

     of this Agreement. The decision whether any extrajudicial statement by any person contradicting

     a statement or fact contained in the Statement of Facts or the terms of this Agreement will be

     imputed to Wilmington Trust for the purpose of determining whether it has breached this

     Agreement shall be decided by the Court. If the USAO determines that an extrajudicial statement

     by any such person contradicts in whole or in part statements or facts in the Statement of Facts or

     the terms of this Agreement, the USAO shall notify Wilmington Trust, and Wilmington Trust may



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      avoid a claimed breach of this Agreement by publicly repudiating such statement(s) within five

      (5) business days after notification.

                 15.   Wilmington Trust shall be permitted to raise any defenses, take any legal positions,

      assert any claims and otherwise defend as Wilmington Trust deems appropriate in all proceedings

      in which it is then a party.

                 16.   Wilmington Trust agrees that if it, or any of its/their direct or indirect subsidiaries

      or affiliates issues a press release or holds any press conference in connection with this Agreement,

      Wilmington Trust shall first consult with the USAO to determine (a) whether the text of the release

      or proposed statements at the press conference are true and accurate with respect to matters

      between the USAO and Wilmington Trust; and (b) whether the USAO has any objection to the

      release.

                 17.   This Agreement is governed by the laws of the United States. The Parties agree

      that the exclusive jurisdiction and any venue for any dispute relating to this Agreement is the U.S.

      District Court for the District of Delaware and that the Honorable Richard G. Andrews will retain

      continuing jurisdiction to resolve any such dispute. This Agreement is intended for the benefit of

     the Parties only and does not create any third-party rights. The Parties acknowledge that this

     Agreement is made without any trial or adjudication or finding of any issue of fact or law, and is

     not a final order or a final adjudication of any court or governmental authority.

                 18.   Each Party shall bear its own legal and other costs incurred in connection with this

     matter, including the preparation and performance of this Agreement.

             19.       Each Party and signatory to this Agreement represents that it freely and voluntarily

     enters into this Agreement without any degree of duress or compulsion.

             20.       For purposes of construing this Agreement, this Agreement shall be deemed to have

     been drafted by all Parties and shall not, therefore, be construed against any Party for that reason

     in any dispute.

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             21 .    This Agreement constitutes the complete agreement between the Parties. This

      Agreement may not be amended except by written consent of the Parties.

             22.     The undersigned counsel represent and warrant that they are fully authorized to

      execute this Agreement on behalf of the persons and entities indicated below.

             23 .    This Agreement may be executed in counterparts, each of which constitutes an

      original and all of which constitute one and the same Agreement.
                                                    \
             24.     This Agreement is binding on Wilmington Trust's successors, transferees, heirs,

      and assigns. Except as may otherwise be agreed by the parties hereto in connection with a

     particular transaction, Wilmington Trust agrees that in the event it sells, mergers, or transfers all

     or substantially all of its business operations as they exist as of the date of this Agreement, whether

     such sale is structured as a sale, asset sale, merger, or transfer, it shall include in any contract for

     sale, merger, or transfer a provision binding the purchaser, or any successor in interest thereto, to

     the obligations described in this Agreement.

             25.    This Agreement is binding on Wilmington Trust and the USAO but specifically

     does not bind any other component of the Department of Justice, other federal agencies, or any

     state, local, or foreign law enforcement or regulatory agencies, or any other authorities, although

     the USAO will bring Wilmington Trust's compliance with its obligations under this Agreement to

     the attention of such agencies and authorities if requested to do so by Wilmington Trust.

            26.     This Agreement is effective on the date of signature of the last signatory to the

     Agreement. Facsimiles of signature and signatures provided by portable document format (".pdf')

     shall constitute acceptable, binding signatures for purposes of this Agreement.



            27.     Any notice to the USAO under this Agreement shall be given by personal delivery,

     overnight delivery by a recognized delivery service, or registered or certified mail, addressed to

     either Robert F. Kravetz or Lesley F. Wolf, Assistant United States Attorneys, United States

                                                        10
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      Attorney's Office for the District of Delaware, 1007 N. Orange Street, Suite 700, Wilmington, DE

      19801. Any notice to Wilmington Trust shall be given by personal delivery, overnight delivery

      by a recognized delivery service, or registered or certified mail, addressed to Brian R. Yoshida,

      One M&T Plaza, 8th Floor, Buffalo, New York 14203 . Notice shall be effective upon actual

     receipt by the USAO or Wilmington Trust.



     AGREED:



     FOR THEUSAO:

                                                          DAVID C. WEISS
                                                          Acting United States Attorney
                                                          District of Delaware




     Date:                                        By:
                                                          R~~~
                                                          Assistant United States Attorney




     Date:   10/q   /iz                           By:




     Date:




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      AGREED:

      FOR WILMINGTON TRUST CORPORATION




      Date:                           By:
                                             Brian R. Yoshida
                                             Wilmington Trust Corporation


      Date:                           By:
                                             Matthew P. Majarian
                                             Skadden, Arps, Slate, Meagher & Flom LLP




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        AGREED:

        FOR WILMINGTON TRUST CORPORATION




        Date:   ID/OJ/!)              ~~     I3ri   .Yoshida
                                             Wilmington Trust Corporation


        Date:                         By:
                                             Matthew P. Majarian
                                             Skadden, Arps, Slate, Meagher & Flom LLP




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      AGREED:

      FOR WILMINGTON TRUST CORPORATION




     Date:                            By:
                                            Brian R. Yoshida
                                            Wilmington Trust Corporation

                                                           .-   ___.,.,,.,.,.--"   -~
     Date:                            By:
                                                         aJartan
                                                        s, Slate, Meagher & Flom LLP




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                               EXHIBIT A- STATEMENT OF FACTS

            1.     Wilmington Trust Company (hereinafter referred to as the "Bank") comprised

    Wilmington Trust Corporation's Delaware-based, wholly-owned retail and commercial banking

    subsidiary and was a financial institution, as defined by Title 18, United States Code, Section 20,

    with deposits insured by the Federal Deposit Insurance Company.

            2.     As a financial institution, the Bank was subject to regulatory supervision by the

    Board of the Governors of the Federal Reserve System and the Federal Reserve Bank of

    Philadelphia (collectively referred to as the "Federal Reserve").

            3.     In connection with both its internal and external reporting of past due loans, the

    Bank engaged in a monthly process of excluding from final past due numbers its matured

    commercial loans that were current for interest and in the process of extension (the "Waiver

    Practice").

            4.     As a result of the 2009 full-scope examination of the Bank, the Federal Reserve

    and the Bank entered into a Memorandum of Understanding on October 21, 2009 (the "MOU").

    Pursuant to the MOU, the Bank agreed to submit Monthly Regulatory Reports, which included

    past due loan information, to the Federal Reserve.

           5.      On each ?f the following dates set forth below, the Bank submitted a Monthly

    Regulatory Report to the Federal Reserve that did not describe the Bank's use of the Waiver

    Practice:

                                                                 Monthly Regulatory Report

                   October 30, 2009                                     September 2009

                  November 25, 2009                                      October 2009

                   December 23, 2009                                    November 2009
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                    January 29, 2010                                   December 2009

                    February 26, 2010                                   January 2010

                     March 26, 2010                                    February 2010

                      April 29, 2010                                    March2010

                      May 28, 2010                                       April 2010

                      June 29, 2010                                      May2010

                      July 23, 2010                                      June 2010



           6.      In addition, in advance of a target examination that commenced in December

    2009, and a full-scope examination that commenced in May 2010, the Federal Reserve requested

    the Bank to submit a list of its past due loans. In responding to each request (with loan data as of

    September 2009 and May 2010, respectively), the Bank's submissions did not describe its use of

    the Waiver Practice.
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                         Exhibit B
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                                                 LAW OFFICES

                                   WILLIAMS S CONNOLLY LLP
                                           725 TWELFTH STREET, N.W.

                                        WASHINGTON, D. C. 20005 -5901           EDWA R D BENNET T W ILLIAM S ( 1920-19 6 6)
  BARRY S. SIMON                                                                    PAUL R.. CONNO LLY UE>22 - J97B)

  (202) 434-5005                                (202) 434-5000
  bsimon@wc.com
                                              FAX (202) 434-5029


                                              January 26, 2018


     BY .E -MAIL.&US, MAIL

     Robert F. Kravetz
     Lesley F. Wolf
     United States Attorney's Office
     District of Delaware
     Nemours Building
     1107 N. Orange Street, Suite 700
     Wilmington, DE 19899-2046


            Re:     U!titetlStates v. David Gibson, RohertHat1·a, William North, mid Kevyn
                    Rako1vski, 15"23-llGAID. Del.)                ·                       ·

     Counsel:

              As you are aware, the Settlement Agreement entered into by Wilmington Trust
     Corporation ("Wilmington Trust") and your office states that Wilmington Trust will provide
     "cooperation" to the government "in a manner consistent with applicable law and rules."
     Agreement ,i 2. Although "cooperation" requires that Wilmington Trust not "provide any
     support to the individual criminal defendants" in the above-referenced criminal action, or "play
     any role in the continued investigation, defense, appeal, or collateral review of those defendants'
     criminal cases," id ,i 2.B, the Agreement expressly provides that it "does not restrict in any
     manner the way that Wilmington Trust defends itself in any matter in which it is then a party,"
     id. ,i 2.G. It also expressly provides that Wilmington Trust can "defend as Wilmington Trust
     deems appropriate ... all proceedings in which it is then a party." Id. ,i 15.

            Wilmington Trust remains a party to the civil securities litigation in In re: Wilmington
    Trust Securities Litigation, No. 10-cv-00990 (D. Del.). All of the named individual criminal
    defendants are also defendants in that civil litigation, which arises from substantially the same
    events underlying the criminal action. The evidence elicited during the trial of the criminal
    action will directly implicate Wilmington Trust's ability to defend itself in the civil litigation.
    For example, Judge Fallon denied Wilmington Trust the right to depose employees of the
    Federal Reserve based on Wilmington Trust' s ability to obtain similar evidence during the
    criminal case. See No. 10-cv-00990, D.I.785 1 6 (concluding that Wilmington Trust's "need for
    the deposition testimony of the Reserve Bank employees in the civil proceeding is lessened by
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  WILLIAMS l!i CONNOLLY LLP

    Robert F. Kravetz
    Lesley F. Wolf
    January 26, 2018
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    the fact that similar testimony by three of the same witnesses is expected in the criminal
    action.").* In addition, numerous witnesses who refused to testify in the civil case based on their
    Fifth Amendment rights may well testify in the criminal case. And many potential witnesses in
    the criminal case are present or former Wilmington Trust employees whose conduct the civil
    plaintiffs will attempt to attribute to Wilmington Trust, and whose testimony may be admissible
    against one or more civil defendants.               ·

            Based on these circumstances, Wilmington Trust has concluded that its defense of the
    civil case requires that it have its counsel attend the criminal trial, and have its counsel discuss
    with counsel for its civil co-defendants the direct examinations being presented and the cross-
    examinations of government witnesses during the course of that trial.

            We believe that our presence at the criminal trial as discussed above is permitted by and
    entirely consistent with the SettleriientAgreement. If your office disagrees, you should raise any
    objections with Judge Andrews promptly so th~tthey may be addressed well before the
    beginning of the criminal trial.       ·                                                  ·


                                                   Sincerely,


                                                   :?1d~
                                                   Barry   I Simon




    '"     Wilmington Trust has filed a motion to modify Judge Fallon's ruling in light of the
    dismissal of the criminal charges against Wilmington Trust. See No. 10-cv-00990, D.I. 811 (Jan.
    17,2018).
